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   Counsel for Plaintiffs
15
16                IN UNITED STATES DISTRICT COURT FOR THE
              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
17
18 CENTER    FOR BIOLOGICAL DIVERSITY
   and CENTER FOR FOOD SAFETY,
                                                      )
                                                      )
                                                          Case No. 2:17-cv-08587-GW-AS

19                                                    )   (Consolidated with Case No.
               Plaintiffs,                            )    2:18-cv-06775-GW-AS)
20                                                    )
         vs.                                          )
21                                                    )   DECLARATION OF GREGORY
   U.S. BUREAU OF LAND MGMT., et al.,                 )   C. LOARIE IN SUPPORT OF
22                                                    )   PLAINTIFFS’ MOTION FOR
               Defendants,                            )   ATTORNEYS’ FEES AND OTHER
23                                                    )   EXPENSES
24       and                                          )
                                                      )   Date: December 5, 2019
25 CADIZ, INC., et al.                                )   Time: 8:30 a.m.
                                                      )   Judge: Hon. George H. Wu
26               Defendant-Intervenors.               )   Place: Courtroom 9D
                                                      )
27
28

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          Decl. of Gregory C. Loarie ISO Pls.’ Mot. for Attorneys’ Fees—2:17-cv-08587-GW-AS
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 1         I, Gregory C. Loarie, declare as follows:
 2         1.     I submit this declaration in support of the plaintiffs’ motion for attorneys’
 3   fees and other expenses in the above-captioned case. The facts set forth below are
 4   based on my personal knowledge. If called as a witness in these proceedings, I could
 5   and would testify competently to these facts.
 6         2.     I am an attorney in the California Office of Earthjustice and counsel of
 7   record for plaintiffs Center for Biological Diversity and Center for Food Safety
 8   (collectively, the “Centers”) in the above-captioned case. I served as lead counsel for
 9   the Centers in this case, acting as the primary contact in communications with
10 opposing counsel, developing legal arguments, drafting the Centers’ pleadings,
11 briefing, and other papers, coordinating and supervising the work of my co-counsel,
12 and appearing at all hearings before the Court.
13         3.     I received my undergraduate degree from the University of California at
14 San Diego in 1997 and attended law school at University of California, Hastings
15 College of the Law. I received a juris doctorate in 2001 and took and passed the
16 California Bar Examination upon graduation from law school. I was admitted to the
17 California bar in December 2001. I am admitted to and have practiced before the
18 United States Court of Appeals for the Ninth Circuit, the United States District Courts
19 for the Northern, Eastern and Central Districts of California, and the courts of the
20 State of California. I have never have been suspended or disbarred by any court.
21         4.     I began my legal career at the California office of Earthjustice as a
22 summer law clerk following my second year of law school. I continued to work at
23 Earthjustice part-time as a law clerk throughout my third year, during which time the
24 organization offered me, and I accepted, a position as an associate attorney to begin
25 the following fall. My tenure as an associate attorney at Earthjustice lasted from 2001
26 until 2004, at which point I accepted a permanent position as a staff attorney, which is
27 the equivalent to a partner position at a for-profit law firm. I remain a staff attorney at
28 Earthjustice today.

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          Decl. of Gregory C. Loarie ISO Pls.’ Mot. for Attorneys’ Fees—2:17-cv-08587-GW-AS
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 1         5.     Earthjustice is a nonprofit public interest law firm, incorporated in the
 2   State of California in 1971 under the name Sierra Club Legal Defense Fund.
 3   Earthjustice is headquartered in San Francisco and has regional offices in cities
 4   throughout the United States. Earthjustice lawyers practice environmental law almost
 5   exclusively, representing an array of neighborhood and community groups as well as
 6   local and national organizations on issues involving resource conservation and public
 7   health. Our attorneys have litigated numerous landmark cases in environmental law,
 8   from Sierra Club v. Morton, 405 U.S. 727 (1972), to Massachusetts v. Envt’l Prot.
 9   Agency, 549 U.S. 497 (2007).
10         6.     Earthjustice does not charge its clients for the legal services it provides.
11 Our clients are responsible only for the out-of-pocket expenses incurred by
12 Earthjustice in connection with our representation. No other entity has paid any fees
13 or costs to Earthjustice in this case.
14         7.     Over my nineteen years at Earthjustice, I have worked exclusively on
15 environmental litigation. I have served as counsel of record in numerous cases
16 brought by public interest organizations to enforce federal environmental statutes and
17 regulations. A representative list of such cases includes:
18       Ctr. for Biological Diversity v. U.S. Fish & Wildlife Serv., 342 F. Supp.
          3d 968 (N.D. Cal. 2018);
19
         Ctr. for Biological Diversity v. U.S. Fish & Wildlife Serv., 246 F. Supp.
20        3d 1272 (N.D. Cal. 2017);
21       ForestWatch v. U.S. Bureau of Land Mgmt., No. 15-4378 MWF, 2016
22        WL 5172009 (C.D. Cal. Sept. 6, 2016);
23       Friends of Tahoe Forest Access v. U.S. Dept. of Agric., 641 Fed. Appx.
          741 (9th Cir. 2016);
24
         Pollinator Stewardship Council v. Envtl. Prot. Agency, 806 F.3d 520, 522
25        (9th Cir. 2015);
26       Cent. Sierra Envtl. Res. Ctr. v. U.S. Forest Serv., 916 F. Supp. 2d 1078,
27        (E.D. Cal. 2013);

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          Decl. of Gregory C. Loarie ISO Pls.’ Mot. for Attorneys’ Fees—2:17-cv-08587-GW-AS
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 1       Hazel Green Ranch, LLC v. Dept. of Interior, 490 Fed. Appx. 880 (9th
          Cir. 2012);
 2
         Sierra Forest Legacy v. Sherman, 646 F.3d 1161 (9th Cir. 2011);
 3
         Ctr. for Food Safety v. Vilsack, 734 F. Supp. 2d 948, 949 (N.D. Cal.
 4        2010);
 5
         Sierra Forest Products v. Kempthorne, 361 Fed. Appx 791 (9th Cir.
 6        2010);
 7       Nat’l Ass’n of Home Builders v. San Joaquin Valley Unified Air Pollution
          Control Dist., 627 F.3d 730 (9th Cir. 2010);
 8
         Sierra Forest Legacy v. Rey, 577 F.3d 1015(9th Cir. 2009);
 9
         Sierra Club v. Johnson, No. 08-01409 WHA, 2009 WL 2413094, (N.D.
10        Cal. Aug. 5, 2009);
11       Cal. ex rel. Lockyer v. Dept. of Agric., 459 F. Supp. 2d 874 (N.D. Cal.
12        2006).
13         8.    As a result of my work on these and other cases, I have acquired
14 substantial knowledge and specialized skill in the area of federal environmental law
15 and litigation. My knowledge and specialized skill was highly relevant and needful to
16 this case, which involved multiple environmental statutes—including the Federal
17 Land, Policy, and Management Act (FLPMA), the General Railroad Right-of-Way
18 Act of 1875, and the National Environmental Policy Act (NEPA)—as well as
19 numerous complex jurisdictional doctrines often relevant in environmental litigation
20 brought under the Administrative Procedure Act.
21         9.    Marie Logan is an associate attorney in the California Regional Office of
22 Earthjustice who assisted me as co-counsel of record on this case until she began an
23 extended family leave on April 15, 2019. Ms. Logan is expected to return from family
24 leave on September 25, 2019.
25         10.   Ms. Logan received her undergraduate degree from the University of
26 California at Berkeley in 2009 and attended law school at the University of
27 Pennsylvania Law School from 2012 to 2015. She received a juris doctorate in 2015,
28 and took and passed the California Bar Examination upon graduation from law school.

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          Decl. of Gregory C. Loarie ISO Pls.’ Mot. for Attorneys’ Fees—2:17-cv-08587-GW-AS
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 1   She was admitted to the California bar in December 2015. Ms. Logan is admitted to
 2   and has practiced before the United States District Courts for the Northern, Eastern,
 3   and Central Districts of California.
 4         11.    Ms. Logan began her career in environmental advocacy with Food and
 5   Water Watch as a research and policy analyst in 2009 after working as an
 6   undergraduate intern with the organization in 2008. Food and Water Watch is a non-
 7   profit organization that advocates for safe food, clean water, and healthy ocean
 8   ecosystems. During her time at Food & Water Watch, Ms. Logan prepared and
 9   delivered written and oral comments to many state and federal regulatory agencies to
10 encourage the promulgation of policies that would be protective of environmental and
11 human health. Ms. Logan became a community organizer with Food & Water Watch
12 in 2011, and was trained in effective advocacy techniques for working with regulatory
13 agencies and petitioning elected officials to address environmental policy issues. In
14 2012, Ms. Logan left this position to attend law school.
15         12.    After law school, Ms. Logan clerked for one year on the New Jersey
16 Supreme Court from 2015 to 2016. In 2016, she was hired into a one-year fellowship
17 with Earthjustice, and in 2017, she became an associate attorney, the position she
18 remains in today. During law school internships and since graduation, Ms. Logan’s
19 career has been focused exclusively on environmental litigation, with the exception of
20 her clerkship year, which was a generalist position. In my opinion, Ms. Logan has
21 gained expertise in administrative and environmental law that was necessary to her
22 role in this case.
23         13.    Like all Earthjustice attorneys, Ms. Logan and I keep a detailed record of
24 the time we spend on every task associated with a case (in six-minute increments)
25 using our organization’s “iTimekeep” database. In preparing the instant motion for
26 attorneys’ fees, I reviewed the time recorded by both me and Ms. Logan on this case,
27 and I exercised careful billing judgment to excise any time arguably expended on
28 tasks that would not be appropriately billed to a paying client or would otherwise be

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          Decl. of Gregory C. Loarie ISO Pls.’ Mot. for Attorneys’ Fees—2:17-cv-08587-GW-AS
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 1   duplicative or unreasonable. After my exercise of billing judgment, the time
 2   reasonably spent by me and Ms. Logan on this case is set forth in Exhibits A and B,
 3   respectively, hereto.
 4          14.    After the exercise of billing judgment, the time I reasonably expended to
 5   September 23, 2019 preparing the instant motion for attorneys’ fees and other
 6   expenses is set forth in Exhibit C hereto.
 7          15.    The tasks undertaken and the resulting time set forth in Exhibits A, B,
 8   and C were reasonable, necessary, and led directly to the Centers’ success in this
 9   litigation.
10          16.    While Earthjustice does not charge its clients for legal services, our
11 clients are responsible for reimbursing Earthjustice for any out-of-pocket costs
12 associated with the case. In addition to the $796.23 in filing and service fees set forth
13 in the Center’s July 7, 2019 application to tax costs (ECF No. 80), Earthjustice
14 incurred $2,842.79 in other out-of-pocket expenses, which the Centers’ seek to
15 recover through the instant motion under Equal Access to Justice Act (EAJA). These
16 other expenses are the result of $195.88 in fees for telephone conference calls plus
17 $2,646.91 in total hotel and airfare costs for my travel to Los Angeles for (1) the May
18 31, 2018 hearing on defendants’ motion to dismiss, (2) the August 27, 2018 initial
19 case management conference, and (3) the June 20, 2019 hearing on the parties’ cross-
20 motions for summary judgment.
21          17.    As a result of my practice, I am generally familiar with the rates charged
22 by lawyers with comparable experience, skill, and qualifications to me and Ms. Logan
23 in California’s primary legal markets, including the San Francisco, Los Angeles, and
24 Sacramento areas. My knowledge of prevailing market rates for comparable legal
25 services in these legal markets is based on my review of recent surveys of rates
26 charged by private law firms, knowledge of rates that I and my colleagues have
27 received as a result of court awards in other cases, and research regarding attorney fee
28 awards cases not brought by Earthjustice.

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           Decl. of Gregory C. Loarie ISO Pls.’ Mot. for Attorneys’ Fees—2:17-cv-08587-GW-AS
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 1         18.   In Pollinator Stewardship Council v. U.S. Envtl. Prot. Agency, No. 13-
 2   72346, 2017 WL 3096105, at *7 (9th Cir. June 27, 2017), the Ninth Circuit
 3   commissioner concluded $550 per hour was a reasonable hourly rate for legal services
 4   provided by me in 2013 and 2014 in the San Francisco area. In Center for Food
 5   Safety v. Vilsack, No. C 08-00484 JSW (EDL), 2011 WL 6259891, at *13-14 (N.D.
 6   Cal. Oct. 13, 2011), report and recommendation adopted by, 2011 WL 6259683 (N.D.
 7   Cal., Dec. 15, 2011), the court concluded that $450 per hour was a reasonable hourly
 8   rate for legal services provided by me primarily in 2008.
 9         19.   Based on my research and experience, prevailing market rates for legal
10 services in the Los Angeles area are comparable to rates for equivalent legal services
11 in the San Francisco area.
12         20.   Based on my research and experience, I conclude that $620 per hour is a
13 reasonable hourly rate for my work on this case. I conclude that $340 per hour is a
14 reasonable hourly rate for Ms. Logan’s work on this case.
15         21.   Based on my experience and research, I am convinced that the Centers
16 could not have retained competent counsel to represent them in this case at the general
17 “statutory” rate specified by EAJA, which amounts to about $200 per hour.
18         I declare under penalty of perjury that the foregoing is true and correct to the
19 best of my knowledge and belief.
20         Executed on September 24, 2019, in San Francisco, California.
21
22                                           /s/ Gregory C. Loarie
                                             Gregory C. Loarie
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          Decl. of Gregory C. Loarie ISO Pls.’ Mot. for Attorneys’ Fees—2:17-cv-08587-GW-AS
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                        EXHIBIT A
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Center for Biological Diversity, et al. v. U.S. Bureau of Land Management, et al.
                           C.D. Cal., Case No. 17-8587

                       Exhibit A — Greg Loarie Merits Time

Date           Hours     Narrative
10/18/2017      1.0      Research re: final agency action
10/18/2017      2.0      Read BLM letter, research re: previous solicitor opinions

10/19/2017       4.0     Research re: 1875 General Railroad Act
10/20/2017       4.6     Research re: 1875 act, potential causes of action
10/23/2017       3.5     Research re: project
10/23/2017       0.7     TC w/ Belenky, Keats re case
10/24/2017       2.0     Drafted complaint
10/25/2017       1.6     Drafted complaint
10/25/2017       2.0     Research re: jurisdictional issues
10/26/2017       4.0     Research re: project docs, EIR
10/27/2017       4.0     Drafted complaint
10/30/2017       1.0     TC w/ co-counsel re: draft complaint
10/30/2017       2.0     Drafted complaint
11/9/2017        4.5     Revised complaint
11/10/2017       0.5     Corres. w/ clients re: draft complaint
11/15/2017       1.0     Edits to complaint
11/16/2017       4.0     Drafted complaint and other initiating docs
11/17/2017       1.0     TC w/ clients re draft complaint
11/20/2017       2.8     Revised complaint
11/21/2017       3.4     Revised complaint
11/22/2017       2.8     Revised complaint
11/27/2017       2.5     Final edits to complaint, initiating docs
11/28/2017       1.0     Filing case, corres. w/ Wall re: same, follow up w/ clients

12/7/2017        1.0     Watched UPRR oral arg
12/7/2017        0.5     Email clients re: UPRR argument
12/11/2017       1.4     Read new 9th Cir. op re: final agency action, research re
                         same
12/13/2017       0.5     TC w/ clients re: next steps
12/15/2017       1.0     TC w/ counsel and Robinson-Dorn re: next steps
1/16/2018        0.6     TC w/ DOJ re: introduction, follow up w/ clients
1/26/2018        0.5     TC w/ Robinson-Dorn re: update
1/31/2018        0.4     Corres. w/ co-counsel re: timing, MTD
1/31/2018        1.4     Revisions to opening brief
2/1/2018         0.2     TC w/ Roberts re: MTD
2/1/2018         0.3     Email clients re: MTD, scheduling, call w/ Roberts
2/6/2018         1.0     Read Wells v UPRR opinion, corres. w/ co-counsel re:
                         same



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 Center for Biological Diversity, et al. v. U.S. Bureau of Land Management, et al.
                            C.D. Cal., Case No. 17-8587

                        Exhibit A — Greg Loarie Merits Time

Date            Hours     Narrative
2/8/2018         0.4      Corres. w/ co-counsel re: MTD scheduling, amending
                          complaint
2/9/2018          3.8     Research re: MTD
2/12/2018         5.0     Drafted opp to MTD
2/14/2018         1.0     TC w/ clients re MTD
2/14/2018         2.7     Research re: MTD
2/15/2018         5.0     Drafted opp to MTD
2/16/2018         4.0     Drafted opp to MTD
2/20/2018         0.3     TC w/ Belenky re: Havasupai
2/21/2018         0.6     TC w/ Tharin re: case
2/23/2018         6.0     Drafted amended complaint
2/26/2018         2.0     Drafted amended complaint
2/26/2018         0.3     TC w/ Robinson-Dorn re: amended complaint
2/27/2018         3.0     Final edits to amended complaint
3/1/2018          0.6     Drafted update to clients
3/1/2018          0.3     Corres. w/ Roberts re: taking MTD off calendar
3/2/2018          0.6     Corres. w/ co-counsel re: scheduling stip,
3/2/2018          0.3     Follow up w/ Roberts re scheduling stip
3/5/2018          0.4     Corres. w/ Roberts re: scheduling stip
3/5/2018          0.5     Corres. w/ co-counsel re: scheduling stip, revisions
3/9/2018          0.4     Corres. w/ Roberts re: scheduling stip., follow up w/ clients

3/12/2018         1.4     Reviewed FOIA docs, corres. w/ counsel re: same
3/13/2018         0.3     Corres. w/ Belenky re: draft standing dec
3/13/2018         1.9     Research re: Final Agency Action
3/15/2018         2.0     Research re: zone of interests
3/16/2018         2.0     Reviewed CFS FOIA docs
3/19/2018         2.5     Research re: zone of interests
3/23/2018         1.9     Research re: jurisdictional discovery
3/29/2018         0.5     Reviewed draft standing dec., corres. w/ Logan re: same

4/9/2018          1.9     Read mot to dismiss amended complaint
4/11/2018         0.6     Meeting w/ Logan to discuss next steps
4/12/2018         0.6     TC w/ Robinson-Dorn re: case
4/12/2018         4.4     Drafted opp to MTD
4/13/2018         4.5     Drafted opp to MTD
4/16/2018         2.8     Drafted Opp to MTD
4/17/2018         1.5     Edits to Anderson Dec
4/17/2018         2.2     Drafted opp to MTD
4/18/2018         4.4     Drafted opp to MTD


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 Center for Biological Diversity, et al. v. U.S. Bureau of Land Management, et al.
                            C.D. Cal., Case No. 17-8587

                        Exhibit A — Greg Loarie Merits Time

Date            Hours     Narrative
4/19/2018        4.8      Drafted Opp to MTD
4/20/2018        6.4      Drafted Opp to MTD
4/20/2018        0.2      Corres. w/ co-counsel re: current draft
4/22/2018        3.0      Drafted Opp to MTD
4/23/2018        3.0      Drafted Opp to MTD
4/23/2018        0.3      Email co-counsel re: opp to MTD
4/25/2018        3.3      Drafted opp to MTD
4/26/2018        6.0      Drafted opp
4/27/2018        4.5      Revised Opp to MTD, working on 12(b)(1) sections
4/27/2018        0.3      Email clients re: revised opp
4/27/2018        0.3      TC w/ Belenky re: Anderson Dec., follow up w/ Logan
4/30/2018        4.3      Revised opp to MTD
5/1/2018         5.6      Revised brief, editing
5/1/2018         0.6      Corres. w/ Belenky re: Anderson Dec
5/2/2018         3.6      Review revised Anderson dec, final edits to same, review
                          exhibts
5/3/2018          5.0     Cite check edits, final revisions
5/4/2018          1.5     Final read through, proofing
5/18/2018         1.3     Read reply papers
5/18/2018         0.3     Corres. w/ Logan re: hearing prep
5/21/2018         1.5     Read Reply ISO MTD
5/22/2018         2.0     Hearing prep
5/23/2018         1.6     Hearing prep
5/24/2018         3.8     Prep for hearing
5/24/2018         0.6     Read motion to transfer NPCA case
5/25/2018         3.5     Prep for hearing
5/29/2018         3.0     Hearing prep
5/30/2018         3.6     Prep for hearing
6/4/2018          1.5     Research re: NPCA motion to transer, follow up w/ clients

6/7/2018          0.7     Read opp to NPCA motion to transfer, follow up w/ clients

6/11/2018         1.0     Corres. w/ clients re: final ruling on MTD
6/11/2018         0.4     TC w/ Hajek re: introduction
6/13/2018         0.4     Email clients re: final ruling on MTD, next steps
6/14/2018         0.8     Research re: next steps, answer, CMC
6/21/2018         1.0     TC w/ clients re: next steps, scheduling
6/25/2018         0.3     Corres. w/ Hajek re: answer, follow up w/ clients
6/25/2018         0.4     Corres. w/ clients re: intervention



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 Center for Biological Diversity, et al. v. U.S. Bureau of Land Management, et al.
                            C.D. Cal., Case No. 17-8587

                        Exhibit A — Greg Loarie Merits Time

Date            Hours     Narrative
6/26/2018        1.5      Corres. w/ clients/co-counsel re: intervention, follow up
                          research
6/27/2018         0.2     TC w/ Hajek re: answer, scheduling
6/28/2018         0.3     TC w Hajek re: motion for leave
6/29/2018         1.8     Reviewed FOIA response
7/2/2018          2.6     Reviewed FOIA response-interim 5
7/2/2018          0.4     Drafted response to motion for leave to file answer
7/6/2018          3.0     Reviewed FOIA response - interim 5
7/19/2018         0.4     Corres. w/ Hajek, De Felice re: scheduling, CMC
7/19/2018         0.4     Revised stip to continue CMC
7/20/2018         1.2     Reviewed Motion to Intevene
7/26/2018         0.5     TC w/ Robinson-Dorn re: case
7/26/2018         0.5     TC w/ co-counsel re: scheduling
7/26/2018         1.0     Drafted Joint 26f Report
7/26/2018         0.5     Corres. w/ Hajek re: stip, follow up w/ Wall
8/3/2018          2.5     Drafted response to motion to intervene
8/3/2018          1.5     Drafted Joint 26f report
8/6/2018          0.6     Corres. w/ clients re: intevention, Joint 26f
8/7/2018          0.2     Corres. w/ Hajek re: CMC
8/13/2018         1.3     Corres. w/ co-counsel re edits to 26f
8/13/2018         0.3     Corres. w/ Hajek re: draft 26f report
8/15/2018         0.5     TC w/ counsel re: meet and confer
8/15/2018         1.0     Edits to 26f report
8/20/2018         0.6     TC w/ Robinson-Dorn re: coordination, scheduling
8/20/2018         0.5     Corres. w/ clients re: scheduling, revised 26f
8/20/2018         1.5     Final edits to 26f, corres. w/ counsel re: same
8/24/2018         0.8     Prep for hearing
8/27/2018         2.6     Hearing on motion to intervene and initial scheduling
                          conference
8/27/2018         0.5     Corres. w/ clients re hearing
8/30/2018         0.8     TC w/ co-counsel, NPCA re: scheduling
8/30/2018         1.1     Research re: consolidation, corres. w/ Logan re same
9/4/2018          1.4     Corres. w/ counsel re: straw schedule
9/4/2018          1.0     Reviewed index to AR, follow up w/ clients
9/4/2018          2.5     Reviewed FOIA docs
9/5/2018          1.5     Reviewed AR
9/6/2018          2.0     Reviewed AR docs
9/6/2018          0.5     Corres. w/ counsel re: scheduling call
9/7/2018          1.0     TC w clients re: Meeting w/ opp counsel, prep
9/7/2018          0.6     TC w/ opp counsel re: scheduling


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 Center for Biological Diversity, et al. v. U.S. Bureau of Land Management, et al.
                            C.D. Cal., Case No. 17-8587

                        Exhibit A — Greg Loarie Merits Time

Date            Hours     Narrative
9/7/2018         2.4      AR review
9/10/2018        1.9      Corres. w/ clients re: schedule, follow up
9/19/2018        0.5      TC w/ counsel for NPCA re: scheduling
9/21/2018        0.7      TC w/ counsel for NPCA re: scheduling, next steps
9/24/2018        1.5      Finalized supplemental 26f
9/27/2018        0.5      Attended Case Scheduling Conference
10/8/2018        0.4      Update to clients re: admin record
10/8/2018        0.2      Corres. w/ Robinson-Dorn re: record review
10/8/2018        2.6      Record review
10/9/2018        0.7      TC w/ counsel for NPCA re: record issues
10/16/2018       0.5      Corres. w/ clients re: FOIA responses, follow up w/ Logan

10/17/2018        1.2     Call w/ counsel re: admin records, follow up
10/18/2018        0.8     Email counsel re: record issues
10/18/2018        3.6     Drafted opp brief
10/19/2018        0.5     Corres. w/ counsel re: record issues
10/23/2018        0.5     Corres. w/ clients re: DOJ record corres., follow up
10/23/2018        0.5     TC w/ Hajek re: record
10/24/2018        1.5     Review letters re record, corres. w/ clients re same
10/26/2018        0.8     TC w/ counsel re: record
10/26/2018        1.8     Drafted opening brief
10/29/2018        3.3     Research re caselaw
10/30/2018        2.4     Caselaw research
11/1/2018         0.3     Corres. w/ Robinson-Dorn re: scheduling, AR
11/2/2018         0.6     TC w/ Prabhala re: standing dec, follow up
11/2/2018         0.5     TC w/ Keats re: standing dec
11/2/2018         0.6     TC w/ counsel for NPCA re: scheduling, AR
11/6/2018         1.0     Corres. w/ counsel re: stip to continue briefing
11/6/2018         0.7     Research re: statement of undisputed facts
11/6/2018         2.7     Drafted opening brief
11/7/2018         3.5     Drafted opening brief
11/8/2018         0.8     Reviewed draft stip, edits to same
11/9/2018         0.2     Corres. w/ Robinson-Dorn re: stip
11/9/2018         3.5     Drafted opening brief
11/13/2018        0.4     Corres. w/ counsel final stip, follow up
11/15/2018        2.0     Drafted opening brief
11/16/2018        0.6     Corres. w/ clients re: new briefing schedule
11/16/2018        2.2     Drafted opening brief
11/29/2018        1.5     Corres. w/ clients re: revised index
11/29/2018        2.5     Reviewed revised AR index


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 Center for Biological Diversity, et al. v. U.S. Bureau of Land Management, et al.
                            C.D. Cal., Case No. 17-8587

                        Exhibit A — Greg Loarie Merits Time

Date            Hours     Narrative
11/30/2018       1.0      Reviewed privilege log
12/3/2018        2.0      Reviewed revised AR
12/3/2018        1.3      Corres. w/ co-counsel re: new docs
12/4/2018        2.2      Research re: new docs, timeline
12/5/2018        2.0      Reviewed revised record
12/5/2018        1.2      Corres. w/ Logan re: NEPA write up, follow up research
12/6/2018        1.6      Drafted memo re new record docs
12/6/2018        0.6      TC w/ Robinson-Dorn re: supp record
12/6/2018        0.6      TC w/ Keats re supp docs
12/7/2018        3.0      Misc research re: new docs, timeline
12/7/2018        0.8      Corres. w/ Robinson Dorn re: new docs
1/2/2019         0.7      Corres. w/ Logan re: claw back, catch up
1/3/2019         0.8      Corres. w/ co-counsel re: next steps, claw back
1/4/2019         1.6      Reviewing draft brief, research re revised record
1/4/2019         1.4      Reviewed draft NEPA write-up
1/7/2019         0.6      TC w/ Robinson-Dorn re update, next steps
1/7/2019         0.5      Corres. w/ Keats re claw back, next steps
1/8/2019         0.5      TC w/ Belenky re update, briefing
1/8/2019         0.6      Reviewed CDFW letter re SEIR, follow up w/ co-counsel
1/8/2019         1.5      Corres. w/ co-counsel re Bernhardt role, follow up
1/9/2019         1.4      Reviewed CFS standing dec, edits to Keats
1/11/2019        0.6      Corres. w/ Keats re standing
1/16/2019        0.8      TC w/ Robinson-Dorn re scheduling, follow up w/ co-
                          counsel
1/16/2019         0.7     Corres. w/ clients re request for stay
1/17/2019         1.2     Corres. w/ Hajak re: ex parte app, follow up w/ clients
1/22/2019         1.5     Drafted opp to ex parte app for stay
1/22/2019         0.5     TC w/ Robinson-Dorn re: ex parte app
1/28/2019         0.4     Corres. w/ counsel re new schedule
1/30/2019         0.8     Corres. w/ co-counsel re: scheduling, DOJ request
1/31/2019         0.5     Corres. w/ Robinson Dorn re schedule
2/1/2019          0.7     Corres. w/ Hajek re scheduling, follow up w/ clients
2/5/2019          0.3     Corres. w/ Hajek re briefing sip
2/6/2019          0.8     Corres. w/ counsel re revised stip, finalizing
2/6/2019          3.8     Drafted opening brief
2/7/2019          1.2     Drafted response to BLM motion for clarification
2/7/2019          2.4     Drafted opening brief
2/8/2019          0.5     Corres. w/ counsel re case management order
2/11/2019         0.8     Attended CMC
2/11/2019         1.3     Drafted stip schedule


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 Center for Biological Diversity, et al. v. U.S. Bureau of Land Management, et al.
                            C.D. Cal., Case No. 17-8587

                        Exhibit A — Greg Loarie Merits Time

Date            Hours     Narrative
2/12/2019        0.4      Corres. w/ counsel re hearing dates
2/13/2019        1.5      Corres. w/ counsel re revisions to stip
2/14/2019        0.8      Corres. w/ counsel re hearing dates, stip, filing
2/14/2019        2.3      Drafted opening brief
2/15/2019        1.6      Drafted opening brief
2/15/2019        0.3      Corres. w/ co-counsel re scheduling
2/19/2019        0.7      Corres. w/ co-counse re RJN, follow up
2/19/2019        1.8      Drafted opening brief
2/22/2019        4.2      Drafted opening brief
2/25/2019        2.2      Drafted standing decs
2/26/2019        5.0      Drafted Standing Decs
2/28/2019        2.0      Drafted standing decs
3/4/2019         3.3      Drafted opening brief
3/5/2019         3.0      Drafted opening brief
3/6/2019         4.2      Drafted opening brief
3/8/2019         2.5      Drafted opening brief
3/13/2019        2.5      Drafted opening brief
3/14/2019        4.0      Drafted opening brief
3/15/2019        5.3      Drafted opening brief
3/18/2019        5.5      Drafted Opening brief
3/20/2019        4.3      Drafted opening brief
3/21/2019        4.8      Drafted opening papers
3/22/2019        4.5      Drafted opening brief
3/25/2019        7.5      Drafted opening brief
3/26/2019        5.5      Drafted opening brief
3/27/2019        4.5      Drafted opening papers
3/28/2019        7.0      Drafted opening papers
3/29/2019        6.5      Drafted opening papers
4/1/2019         4.5      Drafted opening papers
4/2/2019         3.0      Edits to opening brief re client comments
4/3/2019         1.2      Edits to RJN, dec
4/3/2019         1.8      Revised brief
4/4/2019         5.0      Final edits, cite check
4/4/2019         0.5      TC w/ Robinson-Dorn re brief
4/5/2019         3.5      Final proof, read through, filing
4/8/2019         3.3      Read cross MSJs, thinking about opp
4/9/2019         5.0      Drafted opp brief
4/11/2019        4.5      Drafted opp brief
4/12/2019        5.0      Drafted opp to cross motions
4/15/2019        1.0      TC w/ clients re opp to Cross MSJs


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 Center for Biological Diversity, et al. v. U.S. Bureau of Land Management, et al.
                            C.D. Cal., Case No. 17-8587

                        Exhibit A — Greg Loarie Merits Time

Date            Hours     Narrative
4/15/2019        0.6      Read NPCA briefing
4/15/2019        2.0      Drafted opp brief
4/16/2019        0.5      TC w/ Wall re responses to SUFs
4/16/2019        5.0      Drafted responses to SUFs
4/17/2019        4.0      Drafted opp brief
4/18/2019        6.0      Drafted opp
4/19/2019        2.0      Drafted responses to undisputed facts
4/19/2019        1.0      Drafted opp
4/22/2019        6.0      Drafted opp brief
4/23/2019        7.0      Drafted opp brief
4/25/2019        6.1      Drafted opp brief
4/26/2019        4.9      Drafted opp brief
4/29/2019        6.0      Drafted opp brief
4/30/2019        3.4      Drafted opp
5/1/2019         1.5      Drafted opp
5/2/2019         4.0      Drafted opp
5/3/2019         4.0      Drafted opp
5/6/2019         7.0      Drafted opp brief
5/7/2019         3.5      Drafted Opp Brief
5/8/2019         2.6      Incorporate edits from Belenky
5/9/2019         3.6      Finalize opp., response to SUFs
5/10/2019        2.0      Final proof read, filing
5/10/2019        0.8      Corres. w/ clients re briefing, next steps
5/14/2019        2.0      Read opp briefing
5/21/2019        0.4      Misc. re hearing prep
5/21/2019        0.2      Corres w/ Robinson-Dorn re hearing prep
5/22/2019        3.0      Research re opp briefs, evidentiary issues
5/23/2019        1.2      Read opp briefing, thinking about argument
5/29/2019        1.2      Pull caselaw, update
5/30/2019        1.6      Prep for hearing
5/31/2019        1.4      Hearing prep
6/3/2019         1.2      TC w/ Robinson-Dorn re hearing, follow up w/ clients
6/3/2019         0.5      Corres. w/ clients re hearing prep, next steps
6/5/2019         1.5      Review cases, update case research
6/6/2019         3.5      Hearing Prep
6/7/2019         2.2      Hearing prep
6/10/2019        3.4      Hearing prep
6/11/2019        2.6      Hearing prep
6/12/2019        0.5      Read new DC/9th Cir. opinions re Fox
6/12/2019        1.1      Hearing prep


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 Center for Biological Diversity, et al. v. U.S. Bureau of Land Management, et al.
                            C.D. Cal., Case No. 17-8587

                        Exhibit A — Greg Loarie Merits Time

Date            Hours     Narrative
6/13/2019        0.7      TC w/ Robinson-Dorn re hearing
6/13/2019        4.5      Hearing prep
6/14/2019        6.0      Hearing prep
6/18/2019        4.0      Hearing prep
6/19/2019        1.5      Moot court
6/19/2019        5.5      Prep for hearing
6/20/2019        3.0      MSJ Hearing
6/20/2019        1.0      Corres. w/ clients re tentative, next steps
6/21/2019        0.8      Read final decision
6/21/2019        1.0      Corres. w/ clients re final decision
6/27/2019        0.6      TC w Robinson-Dorn re Judgment
6/27/2019        1.2      Drafted proposed judgment, notice of lodging
6/27/2019        0.7      TC w/ clients re judgment, next steps
7/3/2019         0.6      Corres. w/ counsel re judgment, follow up
TOTAL           634.0




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                        EXHIBIT B
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 Center for Biological Diversity, et al. v. U.S. Bureau of Land Management, et al.
                            C.D. Cal., Case No. 17-8587

                          Exhibit B — Marie Logan Time

Date            Hours    Narrative
11/13/2017       0.6     Reviewing Cadiz complaint
11/20/2017       0.5     Reviewing Cadiz complaint
12/6/2017        0.2     Discussing Cadiz research with Loarie
12/13/2017       0.5     Call with Loarie and clients re Cadiz lawsuit next steps
12/13/2017       1.0     Reviewing Cadiz materials
12/14/2017       1.2     Reviewing Cadiz solicitors' opinions
12/15/2017       1.1     Call with Loarie, clients, and NPCA re Cadiz case
1/31/2018        0.3     Debrief with Loarie
1/31/2018        0.3     Emailing re Cadiz timing
2/14/2018        1.2     Reviewing Cadiz motion to dismiss
2/14/2018        0.8     Call with Cadiz clients
2/14/2018        0.3     Emailing re Cadiz stipulation and case law
2/14/2018        0.8     Emailing with Loarie re Cadiz motion to dismiss
2/20/2018        0.5     Emailing re Cadiz and latest 9th Cir decision
2/21/2018        0.8     Call with Loarie and clients re Cadiz amending complaint

2/21/2018         0.3    Discussing research on Cadiz with Loarie
2/22/2018         4.0    Research on BLM discretion to act on existing ROW
2/22/2018         0.7    Emailing Loarie about findings on BLM discretion
2/22/2018         1.0    Emailing with Cadiz clients re additional claims in amended
                         complaint
2/23/2018         2.0    Research on BLM discretion re ROWs
2/26/2018         0.4    Reviewing Cadiz amended complaint
2/27/2018         1.0    Reviewing Cadiz draft amended complaint
2/27/2018         0.8    Reviewing Cadiz BLM docs related to amended complaint

2/27/2018         0.6    Research on attaching docs to complaint
2/28/2018         0.2    Discussing Cadiz research with Loarie
2/28/2018         1.8    Copy edits to Cadiz first amended complaint
3/1/2018          0.5    Discussing stipulating to timeline after amending Cadiz
                         complaint
3/5/2018          0.3    Reviewing Cadiz proposed schedule
3/12/2018         0.3    Access to Cadiz FOIA materials
3/13/2018         1.8    Reviewing Cadiz FOIA materials from CFS
3/13/2018         2.0    Researching Cadiz factual history
3/14/2018         4.5    Reviewing Cadiz FOIA materials
3/15/2018         0.2    Emailing re Cadiz FOIA review
3/15/2018         1.5    Organizing / filing / reviewing Cadiz FOIA docs
3/16/2018         1.0    Reviewing Cadiz FOIA docs
3/29/2018         2.5    Reviewing Cadiz standing declaration


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 Center for Biological Diversity, et al. v. U.S. Bureau of Land Management, et al.
                            C.D. Cal., Case No. 17-8587

                          Exhibit B — Marie Logan Time

Date            Hours    Narrative
4/3/2018         0.6     Scheduling Cadiz call to discuss venue issues
4/3/2018         0.5     Reviewing history of Cadiz case
4/4/2018         0.5     Call with Cadiz clients re venue issues
4/10/2018        0.5     Reviewing DOJ Motion to Dismiss
4/10/2018        0.5     Reviewing NPCA Complaint
4/11/2018        0.5     Meeting with Loarie re Cadiz response to MTD
4/11/2018        0.3     Reviewing Cadiz emails re next steps
4/12/2018        0.3     Call with Loarie re Cadiz standing declaration
4/12/2018        0.8     Reviewing edits to Cadiz standing declaration
4/12/2018        0.4     Emailing with Cadiz clients re FOIA litigation
4/13/2018        0.5     Reviewing emails re Cadiz standing declaration
4/16/2018        0.5     Reviewing and revising Cadiz standing declaration
4/17/2018        2.1     Editing Cadiz standing declaration
4/18/2018        0.5     Editing Cadiz standing declaration
4/19/2018        1.0     Editing Cadiz standing declaration
4/19/2018        0.2     Emailing Loarie update on standing declaration
4/23/2018        0.2     Emailing Loarie re Cadiz updates
4/23/2018        4.2     Working on Cadiz standing declaration
4/24/2018        5.3     Finalizing Cadiz standing declaration draft
4/24/2018        1.0     Copy-editing draft of Cadiz standing declaration
4/24/2018        0.4     Emailing clients re Cadiz standing declaration exhibits
4/25/2018        1.8     Reviewing Cadiz motion to dismiss documents
4/25/2018        0.4     Circulating standing declaration to clients
4/25/2018        0.2     Discussing MTD edits with Loarie
4/26/2018        0.5     Phone calls with co-counsel re standing declaration edits

4/27/2018         1.1    Researching declaration language and 28 USC 1746
4/30/2018         1.0    Reviewing edits to standing declaration and discussing with
                         Loarie
4/30/2018        1.6     Finalizing edits to standing declaration
4/30/2018        0.2     Circulating latest standing declaration to clients
5/1/2018         0.6     Correspondence re draft edits
5/2/2018         0.6     Reviewing updated declaration
5/2/2018         10.5    Cite-checking reply to MTD brief
5/2/2018         0.2     Discussing edits with Loarie
5/3/2018         1.3     Finalizing cite-check edits to reply to MTD
5/3/2018         0.4     Discussing edits with Loarie
5/3/2018         0.4     Coordinating MTD filing and exhibit prep with Wall
5/3/2018         0.4     Researching local rules in CD Cal on exhibits
5/3/2018         0.9     Revising the table of authorities in MTD reply


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 Center for Biological Diversity, et al. v. U.S. Bureau of Land Management, et al.
                            C.D. Cal., Case No. 17-8587

                          Exhibit B — Marie Logan Time

Date            Hours    Narrative
5/3/2018         1.8     Finalizing exhibits for standing declaration to correct page
                         numbering
5/7/2018          0.2    Discussing scheduling Cadiz MTD hearing in LA
5/17/2018         0.2    Emailing Loarie re Cadiz updates
5/31/2018         3.0    Attending Cadiz motion-to-dismiss hearing
6/1/2018          0.6    Reviewing Cadiz docket updates and DC related case
                         updates
6/4/2018          0.5    Analyzing tentative ruling on motion to dismiss
6/8/2018          0.2    Reviewing Cadiz docket update and motion to transfer
6/8/2018          0.2    Reviewing Cadiz opinion denying DOJ motion to dismiss

6/12/2018         0.5    Downloading / reviewing Cadiz FOIA documents
6/12/2018         0.5    Reviewing Cadiz MTD opinion
6/21/2018         0.8    Reviewing motion to transfer Cadiz DC lawsuit and
                         opposition
6/21/2018         0.6    Call with Cadiz clients
6/25/2018         0.2    Reviewing correspondence re DOJ's missed date to
                         answer complaint
6/26/2018         0.2    Researching effect of late answer by defendants
6/26/2018         0.5    Emailing re Cadiz intervention and DOJ correspondence

7/3/2018          0.4    Discussing FOIA review with Loarie
7/3/2018          3.5    Reviewing FOIA materials on Cadiz / BLM / DOI
7/12/2018         2.2    Reviewing CBD FOIA lawsuit and updating FOIA response
                         records
7/13/2018         0.4    Reviewing DC docket
7/13/2018         0.6    Reviewing DOJ's late-filed answer in CD Cal
7/13/2018         1.4    Organizing and reviewing FOIA response materials
7/13/2018         0.4    Phone call with Loarie re Cadiz FOIAs
7/17/2018         0.2    Reviewing correspondence with DOJ counsel
7/18/2018         0.5    Reviewing FOIA interim response #7 to Request #1
7/18/2018         0.3    Emailing re draft schedule with DOJ
7/20/2018         0.2    Discussing Cadiz argument rescheduling with Loarie
7/23/2018         0.3    Counsel correspondence re CMC rescheduling
7/24/2018         0.5    Coordinating on Cadiz stipulation
7/26/2018         0.3    Discussing Cadiz intervention and CMC rescheduling with
                         Loarie
7/26/2018         0.5    Phone call with clients on upcoming scheduling orders
7/30/2018         0.3    Reviewing Cadiz intervention papers



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 Center for Biological Diversity, et al. v. U.S. Bureau of Land Management, et al.
                            C.D. Cal., Case No. 17-8587

                          Exhibit B — Marie Logan Time

Date            Hours    Narrative
8/3/2018         0.5     Reviewing draft response to intervention and Rule 26(f)
                         summary
8/13/2018         0.3    Reviewing status report counter-proposal by DOJ
8/15/2018         0.5    Phone call with opposing counsel re Rule 26(f) report
8/16/2018         0.3    Reviewing updated Rule 26(f) report
8/27/2018         0.3    Reviewing Cadiz tentative ruling on intervention
8/30/2018         3.7    Researching consolidation and coordination in CD Cal
9/4/2018          0.3    Scheduling call with counsel
9/6/2018          0.5    Emailing re Cadiz assignments and admin record
9/7/2018          0.7    Call with NPCA re Cadiz case
9/7/2018          0.6    Call with Cadiz and DOJ
9/12/2018         0.3    Corresponding re FOIA review of incoming documents
9/13/2018         0.2    Discussing FOIA review with Loarie
9/14/2018         0.3    Reviewing Cadiz counter briefing schedule proposal
9/20/2018         4.5    Reviewing Cadiz FOIA response 1, interim response 7
10/8/2018         0.5    Emailing re Cadiz updates and timeline
10/9/2018         1.5    Reviewing and filing latest FOIA responses
10/10/2018        0.6    Call with DOJ and NPCA re Cadiz
10/25/2018        0.5    Reviewing Cadiz case law updates
10/26/2018        0.2    Reviewing docs shared by DOJ re admin record
11/1/2018         0.3    Cadiz correspondence re admin record and delay of SJ
                         briefing
11/19/2018        1.0    Working on Cadiz NEPA claim arguments
11/27/2018        4.7    Researching NEPA claim
11/30/2018        0.5    Cadiz correspondence and call with Loarie re NEPA
12/5/2018         3.2    Cadiz research on NEPA claim
12/5/2018         0.4    Discussing NEPA research with Loarie
12/6/2018         0.3    Reviewing Loarie's emails on Cadiz admin record findings

12/7/2018         0.5    Call with Loarie and NPCA team re Cadiz admin records

12/7/2018         0.2    Call with Keats and Loarie re next steps
12/11/2018        0.6    Meet and confer with DOJ on contents of admin record
12/11/2018        0.2    Summarizing Cadiz call for Loarie, Keats
12/14/2018        1.5    Cadiz FOIA clawback research
12/19/2018        0.2    Emailing with NPCA re FOIA clawback
12/20/2018        0.2    Following up on DOJ FOIA clawback issue internally
12/31/2018        2.1    Reviewing briefing on agency jurisdiction / NEPA issue
1/2/2019          0.2    Call with Loarie re FOIA clawback
1/2/2019          3.8    Editing Cadiz SJ brief draft


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 Center for Biological Diversity, et al. v. U.S. Bureau of Land Management, et al.
                            C.D. Cal., Case No. 17-8587

                          Exhibit B — Marie Logan Time

Date            Hours    Narrative
1/3/2019         3.2     Editing NEPA SJ argument
1/3/2019         1.0     Finalizing edits to NEPA SJ draft; sending to Loarie for
                         review
1/7/2019          0.2    Scheduling Cadiz call with NPCA
1/8/2019          0.2    Discussing Cadiz next steps with Loarie
1/17/2019         0.8    Cadiz conference call to discuss DOJ request for stay, and
                         associated emails
1/22/2019         0.4    Emailing re BLM ex parte motion for stay
1/22/2019         0.3    Reviewing opposition to motion to stay
1/23/2019         0.4    Review and edit emergency opposition to ex parte stay by
                         DOJ
2/12/2019         0.2    Discussing Cadiz timeline with Loarie
2/13/2019         0.4    Reviewing Cadiz emails re rescheduled hearing
2/14/2019         0.7    Summarizing time constraints in Cadiz brief scheduling;
                         reviewing emails
2/21/2019         1.0    Researching judicial notice on Westlaw
2/21/2019         1.3    Summarizing findings on judicial notice for Loarie
2/22/2019         0.2    Emailing with Loarie re request for judicial notice
3/10/2019         2.5    Drafting RJN for Cadiz MSJ
3/10/2019         0.6    Drafting declaration in support of RJN
3/10/2019         0.2    Emailing Loarie drafts of RJN and declaration
3/11/2019         0.3    Emailing re Cadiz RJN and declaration
3/12/2019         0.2    Emailing re Cadiz RJN and briefing schedule
3/13/2019         0.6    Call with NPCA re Cadiz; discussing next steps with Loarie

3/20/2019         0.2    Discussing Cadiz research with Loarie
3/20/2019         2.2    Researching solicitors' opinions in 9th Cir
3/21/2019         1.7    Researching solicitors' opinions in 9th Circuit; summarizing
                         findings
3/21/2019         0.4    Call with Loarie re Cadiz research
3/21/2019         1.0    Editing CBD declaration
3/22/2019         3.0    Editing CBD standing declaration
3/22/2019         1.1    Reviewing latest version of summary judgment brief
3/22/2019         2.1    Working on draft statement of undisputed facts
3/25/2019         0.6    Cadiz admin record compilation
3/25/2019         0.2    Discussing statement of undisputed facts with Loarie
3/25/2019         3.1    Editing statement of undisputed facts
3/26/2019         4.6    Editing statement of undisputed facts
3/27/2019         0.5    Reviewing correspondence with clients
3/27/2019         5.7    Working on draft SUF


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                          Exhibit B — Marie Logan Time

Date            Hours    Narrative
3/27/2019        0.3     Discussing Cadiz work with Loarie
3/28/2019        1.5     Finalizing statement of uncontroverted facts
3/28/2019        1.6     Editing Cadiz opening brief on SJ
3/29/2019        0.5     Reviewing edited statement of uncontroverted facts
4/1/2019         0.5     Reviewing Cadiz filings and client correspondence
4/1/2019         1.8     Finalizing request for judicial notice and associated
                         declaration
4/1/2019          1.7    Editing RJNs after Loarie's input/edits
4/1/2019          0.5    Prepping exhibits for RJN
4/1/2019          1.1    Cite-checking Cadiz memo
4/2/2019          6.3    Cadiz cite check of brief
4/3/2019          0.2    Discussing Cadiz briefing with Greg
4/4/2019          0.2    Coordinating on final Cadiz docs
4/5/2019          0.2    Correspondence re Cadiz filing
4/8/2019          1.0    Reviewing Cadiz and DOJ MSJ filings
4/8/2019          0.2    Emailing re Cadiz press and blog
4/8/2019          0.7    Reviewing NPCA filings in Cadiz case
4/8/2019          1.0    Reviewing statements of undisputed fact by Cadiz and DOJ

4/9/2019          0.3    Discussing Cadiz SUF responses with Loarie and Wall
4/10/2019         2.5    Reviewing Cadiz SUFs and proposing responses
4/11/2019         0.2    Discussing Cadiz research with Loarie
4/12/2019         2.1    Working on responses to DOJ SUF
4/15/2019         3.9    Working on responses to Cadiz SUF
TOTAL            208.0




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                        EXHIBIT C
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                   Exhibit C — Greg Loarie Fees-on-Fees Time

Date            Hours    Narrative
7/8/2019         0.3     Corres. w/ Wall re costs, fees
7/8/2019         1.2     Drafted stip to extend atty fee deadline, corres. w/ counsel
                         re same
7/9/2019          0.4    Corres. w/ counsel re fee stip
7/9/2019          0.4    Corres. w/ clients re fees/costs
7/10/2019         0.5    Corres. w/ counsel re EAJA stip, follow up w/ Wall
7/10/2019         1.0    Research re EAJA, pulling together draft application
7/18/2019         0.3    TC w/ Wall re time records, fee deadline, follow up
8/5/2019          0.2    Corres. w/ Robinson-Dorn re fees, next steps
8/6/2019          0.8    Corres. w/ potential declarants
8/7/2019          0.8    Corres. w/ declarants re rates, experience
8/8/2019          0.3    Follow up w/ Grossman Palmer re dec
8/9/2019          0.4    Corres. w/ Wall re time records, EBJ
8/9/2019          1.7    Drafted fee motion
8/12/2019         0.5    Email clients re EAJA app, next steps, update
8/13/2019         0.7    Edits to draft Angel Dec, corres. w/ Angel re same
8/19/2019         0.6    Corres. w/ Grossman Palmer re hourly rates, declaration

8/19/2019         0.2    Corres. w/ Robinson-Dorn re EAJA
8/19/2019         1.0    Drafted Dec
8/20/2019         0.8    Corres. w/ Carstens re dec, edits to same
8/21/2019         0.3    Corres. w/ Keats re dec
8/22/2019         0.5    TC w/ Robinson-Dorn re fees, next steps
8/22/2019         1.3    Drafted fee motion
8/27/2019         0.3    Corres. w/ Keats re time, dec needs
8/27/2019         1.7    Research re court awards
8/28/2019         0.4    Reviewed Keats dec, revisions to same
8/29/2019         1.2    Drafted Dec
9/3/2019          0.5    Email counsel re EAJA motion, conference
9/3/2019          0.4    Corres. w/ Belenky, Prabhala re dec
9/3/2019          1.8    Drafted Loarie dec
9/5/2019          0.3    Corres. w/ declarants re finalizing decs, timing
9/5/2019          1.6    Drafted EAJA motion
9/6/2019          2.0    Drafted EAJA motion
9/13/2019         0.3    Corres. w/ Wall re Loarie Dec Exhibits
9/13/2019         0.6    Reviewed revised rate decs, corres. w/ co-counsel re same

9/16/2019         3.3    Drafted EAJA motion
9/16/2019         0.5    Corres. w/ Wall re other expenses, follow up
9/17/2019         0.4    Drafted Proposed Order


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                   Exhibit C — Greg Loarie Fees-on-Fees Time

Date            Hours    Narrative
9/17/2019        2.3     Drafted EAJA motion
9/17/2019        0.2     Corres. w/ Prabhala re finalizing dec
9/19/2019        1.3     Drafted EAJA motion
9/19/2019        0.7     Finalize rate and co-counsel decs
9/20/2019        1.8     Drafted EAJA motion
9/20/2019        0.9     Final edits to Loarie Dec
9/23/2019        0.2     Corres. w/ Wall re finalizing fees on fees time
TOTAL            36.9




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